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                  7
                        Attorneys for Defendants Caydon San Diego
                  8     Property LLC and Alex Beaton, and Specially
                        Appearing Defendants Caydon USA Holding
                  9     LLC, and Caydon USA Property Group LLC
                 10
                                            UNITED STATES DISTRICT COURT
                 11
                                          SOUTHERN DISTRICT OF CALIFORNIA
                 12
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                        THE PEOPLE OF THE STATE OF               CASE NO.: 3:23-cv-01296-DMS-KSC
                 13     CALIFORNIA and CITY OF SAN
                        DIEGO, a municipal corporation,          DEFENDANTS’ NOTICE OF MOTION
                 14                                              AND MOTION FOR RULE 41(d)
                                          Plaintiffs,            AWARD OF FEES AND COSTS
                 15                                              AGAINST PLAINTIFFS AND FOR
                        v.                                       STAY OF PROCEEDINGS PENDING
                 16                                              PAYMENT
                        CAYDON SAN DIEGO PROPERTY
                 17     LLC, a Delaware Limited Liability      [Filed concurrently with Memorandum of
                        Company; CAYDON USA HOLDING            Points and Authorities and Declaration of
                 18     LLC, a Texas Foreign Limited Liability Elizabeth A. Sperling]
                        Company and a Delaware Limited
                 19     Liability Company; CAYDON USA          Date filed: June 12, 2023
                        PROPERTY GROUP, LLC, a Delaware Removal date: July 14, 2023
                 20     Limited Liability Company; MATTHEW
                        HUTTON, Receiver and Manager of        Hearing Date: August 18, 2023
                 21     CAYDON USA PROPERTY GROUP              Hearing time: 1:30 p.m.
                        HOLDINGS PTY LTD; ALEX                 Courtroom: 13A
                 22     BEATON, an individual; and DOES 1
                        through 50, inclusive,
                 23
                                          Defendants.
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                                DEFENDANTS’ NOTICE OF MOTION FOR RULE 41(d) AWARD OF FEES AND COSTS
              2306321
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                  1     TO THE COURT, CLERK, ALL PARTIES AND THEIR ATTORNEYS OF
                  2     RECORD:
                  3           PLEASE TAKE NOTICE that on August 18, 2023, at 1:30 p.m., or as soon
                  4     thereafter as the matter may be heard in the courtroom of the Honorable Dana M.
                  5     Sabraw, located at 333 West Broadway, San Diego, CA 92101, Courtroom 13A,
                  6     Defendants Caydon San Diego Property LLC (“Caydon San Diego”), Caydon USA
                  7     Holding LLC (“Caydon USA Holding”), Caydon USA Property Group LLC (“Caydon
                  8     USA Property Group”) (collectively, “Caydon”), and Alex Beaton (collectively,
                  9     “Defendants”) will and hereby do move the Court for an award of their attorneys’ fees
                 10     and costs incurred in The People of the State of California, et al. v. Caydon San Diego
                 11     Property LLC, et al., case No. 3:23-cv-1020-LAB-DDL (the “Original Action”), as
                 12     well as for duplicative work necessitated in the instant action as a result of Plaintiffs’
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                 13     dual filings, pursuant to Rule 41(d) of the Federal Rules of Civil Procedure or,
                 14     alternatively, pursuant to 28 U.S.C. section 1927 and/or the Court’s inherent powers,
                 15     and an order staying this action pursuant to Rule 41(d) until the award of attorneys’
                 16     fees and costs is paid.
                 17           Defendants’ request arises from Plaintiffs’ improper attempt to (a) destroy
                 18     diversity by adding a sham defendant, (b) forum shop to get the case back to state court,
                 19     and (c) judge shop to get the case reassigned from the Honorable Larry A. Burns.
                 20     Plaintiffs voluntarily dismissed the Original Action on June 9, 2023, shortly after
                 21     Defendants had removed the case to federal court and Judge Burns granted Defendants’
                 22     ex parte application extending their time to respond to the complaint. Then Plaintiffs
                 23     turned around and filed the identical complaint (save for the addition of Alex Beaton—
                 24     a California resident—as a sham defendant in a transparent attempt to destroy diversity
                 25     jurisdiction) in state court just three days later on June 12, 2023, without a notice of
                 26     related case or any acknowledgment that this action is wholly duplicative of the
                 27     Original Action.
                 28           Defendants respectfully request that the Court order Plaintiffs to pay Defendants’
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                                 DEFENDANTS’ NOTICE OF MOTION FOR RULE 41(d) AWARD OF FEES AND COSTS
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               Case 3:23-cv-01296-JES-DDL Document 9 Filed 07/20/23 PageID.166 Page 3 of 3



                  1     attorneys’ fees in the amount of $75,779.70, which were reasonably and necessarily
                  2     incurred in the Original Action and in preparing this Motion, or such other amount that
                  3     the Court deems reasonable and appropriate, and $1,229.98 in costs pursuant to Rule
                  4     41(d). Defendants further request that the Court hold each of the Plaintiffs jointly and
                  5     severally liable for the same and that these proceedings be stayed until Plaintiffs have
                  6     complied with payment of the requested award. See Fed. R. Civ. P. 41(d)(2) (court
                  7     may stay proceedings until the plaintiff has complied with an order awarding costs).
                  8           Defendants’ Motion is based on this notice of motion, the concurrently filed
                  9     memorandum of points and authorities and the declaration of Elizabeth A. Sperling, all
                 10     other papers, documents, or exhibits that may be filed in support of this Motion, the
                 11     argument of counsel, if any, made at the hearing, and on such other and further evidence
                 12     or argument as may be properly received by the Court.
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                 14     DATED: July 20, 2023                   Respectfully submitted,
                 15                                            GLASER WEIL FINK HOWARD
                                                                JORDAN & SHAPIRO LLP
                 16
                                                               By: /s/ Elizabeth A. Sperling
                 17
                                                               ELIZABETH A. SPERLING
                 18                                            ALEXANDER R. MILLER
                                                               JACK DAY
                 19
                                                               Attorneys for Defendants Caydon San Diego
                 20                                            Property LLC and Alex Beaton, and Specially
                 21
                                                               Appearing Defendants Caydon USA Holding
                                                               LLC, and Caydon USA Property Group LLC
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                                 DEFENDANTS’ NOTICE OF MOTION FOR RULE 41(d) AWARD OF FEES AND COSTS
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